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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                              CASE NO. 1:88-cr-01007-MP-AK

WILLIE BUD REED, JR.,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on Doc. 1123, Amended Motion for Rehearing and/or

Motion to Alter or Amend Judgment, filed by Willie Bud Reed, Jr. In a prior order, Doc. 1119,

Mr. Reed’s Motion to Correct Clerical Errors in Defendant’s Presentence Investigation Report

was denied. The Defendant now asks the Court to reconsider this order, in which the Court

found no error in Defendant’s Presentence Report. Because Defendant is not challenging his

sentence, but rather the computation of his criminal history points, there is no issue of an

unauthorized second or successive motion under 28 U.S.C. § 2255.

       Because Mr. Reed’s supervised release ended on June 17, 1987, and the trial evidence

did not mention the Defendant’s participation in the instant offense until October 1987, Mr. Reed

argues that it was error to assign two point under §4A1.1(d) for commission of the instant

offense while on supervised release. After reviewing the Presentence Report, the Court believes

that Mr. Reed has created an arguable question as to whether he should have been attributed the

two points assessed under paragraph 32 of the Criminal History Computation in the Presentence

Report. Therefore, in an abundance of caution, the Court will reconsider its prior order denying

Mr. Reed’s motion to correct clerical errors. To assist the Court in its reconsideration, the
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Government is directed to file a response to the Defendant’s Motion to Correct Clerical Errors.

Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        The Government is hereby directed to file a response to Defendant Reed’s motion in Doc.
        1118, and to explain why the assessment of two points, pursuant to §4A1.1(d) of the
        Sentencing Guidelines, in the Criminal History Computation of the Presentence Report is
        not in error.

        DONE AND ORDERED this           8th day of November, 2006


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge




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